Case 2:03-cv-02409-.]PI\/|-tmp Document 247 Filed 05/18/05 Page 1 of 2 Page|D 161

  
 
 

IN THE UNITED sTATEs DISTRICT cé%£§ii’
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN

 

REBECCA TREACE,
Plaintiff,
vs.

Civ. NO. O313964-M1{P

UNUM LIFE INSURANCE COMPANY OF
AMERICA,

Defendant.

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ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE OF COURT TO FILE A
REPLY BRIEF TO UNUM'S RESPONSE TO REPORT OF FACT TO FACE MEETING
CONCERNING PLAINTIFF’S RENEWED MOTION FOR SANCTIONS AND FOR
MODIFICATION OF THE COURT'S SCHEDULING ORDER AND PLAINTIFF’S
SECOND RENEWED MOTION FOR SANCTIONS

 

Befors the court is Plaintiffs' Motion for Leave of Court to
File a Reply Brief to UNUM’s Response to Report of Fact to Face
Meeting Concerning Plaintiff's Renewed Motion for Sanotions and for
Modification of the Court’s Scheduling Order and Plaintiff's Seoond
Renswed Motion for Sanotions, filed April 13, 2005 (Dkt #218).
For good cause shown, plaintiff's motion is GRANTED.

I'I` IS SO ORDERED.

 

TU”M. PHAM
United States Magistrate Judge

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Date l‘ '

Tbis document entered on the docket sf:eet in compliance
with Ru|e 58 and/or 79(3) FHCP on " 'q"

       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 247 in
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Honorable .1 on McCalla
US DISTRICT COURT

